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 8                               UNITED STATES DISTRICT COURT
 9                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
10   WILLIAM CHRISTOPHER                                 )   CASE NO.: 5:19-cv-00828-KK
     THOMPSON, an individual;                            )   (Magistrate Judge Kenly Kiya
11                                                       )   Kato)
                                      Plaintiff,         )
12                                                       )   [PROPOSED] ORDER RE:
13
                vs.                                      )   FRCP 41(a)(2) STIPULATION
                                                         )   TO DISMISS AND REQUEST
14                                                       )   FOR COURT ORDERED
     MARRIOTT HOTEL SERVICES,                            )   DISMISSAL OF THE ACTION
15   INC., a Delaware Corporation                        )   WITH PREJUDICE
     doing business in California, as JW                 )
16   MARRIOTT DESERT SPRINGS                             )
     RESPORT & SPA, and DOES 1-                          )
17   100,                                                )   Complaint Filed: 1/16/2019
                        Defendants.                      )   Removed: 5/3/2019
18                                                       )
19
                                                   [PROPOSED] ORDER
20
                FOR GOOD CAUSE SHOWN, THIS COURT HEREBY ORDERS THIS
21
      MATTER, IN ITS ENTIRETY, DISMISSED WITH PREJUDICE.
22
      IT IS SO ORDERED.
23

24    DATED: May 6, 2020                                 By:_____________________________
25                                                         KENLY KIYA KATO
                                                           United States Magistrate Judge
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                 NOTICE OF SETTLEMENT AND REQUEST FOR DISMISSAL; [PROPOSED] ORDER

     NAP REQ FOR DISMISSAL rev.docx
